Case 16-02028-5-DMW         Doc 21 Filed 04/27/16 Entered 04/27/16 10:43:25              Page 1 of 4



                              UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF NORTH CAROLINA
                                      RALEIGH DIVISION

 IN RE:                                       )                      CASE NO.: 16-02028-5-DMW
 SUNCOAST CONTRACTING, LLC.,                  )
            Debtor                            )                      CHAPTER 7


                      NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

         PLEASE TAKE NOTICE that Cindy G. Oliver of Morris, Russell, Eagle & Worley, PLLC, files
 this notice of appearance as counsel for PARAGON COMMERCIAL BANK, a creditor in the above-
 captioned case, pursuant to Rules 2002 and 9010 of the Federal Rules of Bankruptcy Procedure,
 and requests that all documents filed with the court in this case, all notices given or required to
 be given in this case and all papers served or required to be served in this case be sent to the
 following address:

                               Cindy G. Oliver
                               Morris, Russell, Eagle & Worley, PLLC
                               2235 Gateway Access Point, Suite 201
                               Raleigh, North Carolina 27607

         PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the notices
 and papers referred to in the Bankruptcy Rules specified above, but also includes, without
 limitation, all papers, reports, orders, notices, petitions, pleadings, appendices, exhibits,
 complaints, copies of applications, motions, disclosure statements, plans of readjustment of
 debts or reorganization, requests or demands, whether formal or informal, whether written or
 oral, and whether transmitted or conveyed by mail, electronic mail, courier service, delivery
 service, telephone, facsimile, telegraph, telex or otherwise.

        PLEASE TAKE FURTHER NOTICE that this Notice of Appearance does not give express or
 implied consent by the undersigned or Morris, Russell, Eagle & Worley, PLLC to accept service
 of process of any action commenced under Rule 7001 of the Federal Rules of Bankruptcy
 Procedure.

         PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance or Request for
 Service nor any subsequent appearance, pleading, claim or suit, is intended to waive and should
 not be construed as a waiver of PARAGON COMMERCIAL BANK’S (1) right to have final orders in
 noncore matters entered only after de novo review or trial by a United States District Court, (2)
 right to trial by jury in any proceeding or trial so triable herein or in any case, controversy, or
 proceeding relating hereto, (3) right to have the reference withdrawn by the United States
 District Court in any matter subject to mandatory or discretionary withdrawal or to seek
 abstention by the United States Bankruptcy Court on any matter; or (4) any other rights,
Case 16-02028-5-DMW        Doc 21 Filed 04/27/16 Entered 04/27/16 10:43:25          Page 2 of 4



 remedies, claims, actions defenses, setoffs or recoupments to which PARAGON COMMERCIAL
 BANK is or may be entitled under agreements, in law, in equity, or otherwise, all of which are
 expressly reserved. Further, this Notice of Appearance constitutes a special appearance and is
 not to be deemed a consent or waiver of the right to challenge jurisdiction of any court,
 including, without limitation, the United States Bankruptcy Court for the Eastern District of
 North Carolina, all of which rights are reserved without prejudice.

        This the 27th day of April 2016.
                                                   MORRIS, RUSSELL, EAGLE & WORLEY, PLLC

                                                   s/ Cindy G. Oliver____________
                                                   N.C. State Bar # 14258
                                                   Attorney for Paragon Commercial Bank
                                                   2235 Gateway Access Point, Suite 201
                                                   Raleigh, North Carolina 27607
                                                   (919) 645-4300
                                                   coliver@morrisrussell.com
Case 16-02028-5-DMW        Doc 21 Filed 04/27/16 Entered 04/27/16 10:43:25          Page 3 of 4



                                     CERTIFICATE OF SERVICE

        I, Cindy G. Oliver, of MORRIS, RUSSELL, EAGLE & WORLEY, PLLC, certify:

        That I am, and at all times hereinafter mentioned was, more than eighteen (18) years of
 age:

        That on this date, I mailed a copy of the foregoing Notice of Appearance and Request
 For Notices by depositing copies thereof in the United States mail, postage prepaid, in an
 envelope addressed as shown below, or alternatively, service was made by electronic means
 through the court’s CM/ECF service on:

               Richard D. Sparkman                        Via CM/ECF
               Chapter 7 Trustee

               Marjorie K. Lynch                          Via CM/ECF
               Bankruptcy Administrator

               James A. Beck                            Via CM/ECF
               VANN ATTORNEYS, PLLC
               Attorney for Gregory Poole Equipment Co.

               Kristopher B. Gardner                        Via CM/ECF
               THARRINGTON SMITH
               Attorney for Kelly’s NC Erosion Control, LLC

               Jill C. Walters                            Via CM/ECF
               POYNER SPRUILL, LLP
               Attorney for HD Supply Waterworks, LP

               A. Lee Hogewood III                          Via CM/ECF
               Matthew T. Houston
               K&L GATES LLP
               Attorneys for U.S. REIF 4700 Falls North Carolina, LLC

               George F. Sanderson III                    Via CM/ECF
               Thomas H. Segars
               ELLIS & WINTERS, LLP
               Attorneys for Toll Bros., Inc.

               Suncoast Contracting, LLC
               Attn: Todd Hamilton/Registered Agent
               4441-106 Six Forks Road, #348
               Raleigh, NC 27612
Case 16-02028-5-DMW       Doc 21 Filed 04/27/16 Entered 04/27/16 10:43:25     Page 4 of 4




       This the 27th day of April 2016.

                                               MORRIS, RUSSELL, EAGLE & WORLEY, PLLC

                                               s/ Cindy G. Oliver____________
                                               N.C. State Bar # 14258
                                               Attorney for Paragon Commercial Bank
                                               2235 Gateway Access Point, Suite 201
                                               Raleigh, North Carolina 27607
                                               (919) 645-4300
                                               coliver@morrisrussell.com
